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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:02CR164
                                             )
                      Plaintiff,             )
                                             )
              v.                             )                      ORDER
                                             )
YAMIL RIVERA-KADER,                          )
                                             )
                      Defendant.             )

       This matter is before the Court on Defendant’s Motion to Modify Conditions of

Release (Filing No. 654) requesting that he be allowed to travel to Mexico to visit his family.

The Court has consulted with his Probation Officer. The Court will deny the Defendant’s

motion without prejudice and advises the Defendant to resubmit future requests through

his designated Probation Officer after the Defendant has completed no less than 60 days

of his term of supervised release.

       IT IS ORDERED that the Defendant’s Motion to Modify Conditions of Release (Filing

No. 654) is denied.

       Dated this 20th day of May, 2015.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   Chief United States District Judge
